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                UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF TEXAS
                      SHERMAN DIVISION

IN THE MATTER OF: §
                                                 §
DILIP JANA §                                             Civil Action No. 4:24-cv-00698-SDJ-BD
    Plaintiff,                               §

v.                               §
                                                 §
                                                  §
                                                                                   FILED
WALMART, INC., §                                                                       JUL 0 8 2025
     Defendant.                               §
                                                                             CLERK, U.S. DISTRICT COURT
                                                                                    TEXAS EASTERN


     PLAINTIFF S SUPPLEMENTAL NOTICE (Dkt 68) REGARDING DEMAND FOR
                  CLARIFICATION ON PRIVILEGE ASSERTION


Pro Se Plaintiff Dr. Dilip Jana respectfully files this Supplemental Notice to preserve the record and

supplement Plaintiff s Notice of Demand for Clarification Regarding Privilege Assertion (Dkt. 68)

filed on June 30, 2025, concerning Defendant Walmart Inc.’s assertion of attorney-client privilege

and/or work product protection over EXHIBIT 2 (Complaint, Dkt. 13, PagelD# 299) and other

documents currently withheld.


As detailed in Dkt. 68 and the Demand for Clarification served on June 30, 2025 (attached there as

Exhibit A), Plaintiff requested that Defendant clarify its position regarding its privilege assertion over

EXHIBIT 2 and other withheld documents, and produce a Rule 26(b)(5)(A) privilege log certified

under Rule 26(g) by Walmart’s lead counsel, Peter Wahby, by 5:00 p.m. Central Time on July 7,

2025. As of the filing of this Supplemental Notice, it is July 8, 2025, at 3:00 p.m. Central, and

Plaintiff has not received any response or clarification from Walmart. Plaintiff files this Supplemental


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Notice to ensure the record is clear that Walmart failed to provide the requested clarification,

certification, or privilege log within the stated deadline, despite Plaintif s good-faith efforts to confer

under Rule 37(a)(1). Plaintiff reserves all rights to seek discovery sanctions under Rule 37 and will

note Defendant s failure to clarify its position in any forthcoming filings.


Plaintiff further notes for the record that in Dkt. 51, Walmart’s first Motion for Protective Order, on

April 4, 2025 Walmart stated:


       Rather, W lmart seeks entry of a protective order to provide the parties with clear
      guidelines for the h ndling of confidential information, to facilitate orderly and efficient
      discovery, and to prevent the nharnessed disclosure of sensitive information.

Plaintif notes that Walmart’s current failure to clarify its privilege assertion and produce a privilege

log, despite Plaintiff’s demand and while a protective order is now in place, is inconsistent with

Walmart’s stated goal of facilitating orderly and efficient discovery.




Dated: July 8, 2025

                                                   Respectfully Submitte ,




                                            DILIP JANA, Pl intiff
                                                      Pro Se
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                                            800 Fairlawn St, Allen, TX, 75002




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                                   CERTIFICATE OF SERVICE


On July 8, 2025, a true and correct copy of the foregoing was served upon the following through the

Court s CM/ECF system:

Peter S. Wahby                    Morgan E. Jones             Holmes H. Hampton
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ATTORNEYS FOR DEFENDANT WALMART INC.

Dated: July 8, 2025

                                                     Respectfully Submitted




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                                                       800 Fairlawn St, Allen, TX, 75002




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